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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-20252-CR-CR-SMITH
UNITED STATES OF AMERICA
vs.

GREGORY GEORGE,
a/k/a “Ti Ketant,”

Defendant. |

,

FACTUAL PROFFER

 

The United States Attorney’s Office for the Southern District of Florida and GREGORY
GEORGE, a/k/a “Ti Ketant,” (hereinafter “GEORGE” or “the Defendant”) agree that had this case
gone to trial that the United States would have proven beyond a reasonable doubt, amongst other
things, that:

From at least as early as in and around July 2013, the exact date being unknown to the
Grand Jury, and continuing through on or about June 7, 2015, in the countries of Colombia, Haiti,
and elsewhere, the Defendant conspired with others to distribute a controlled substance in
Schedule II, cocaine, knowing and intending that such controlled substance would be unlawfully
imported into the United States, in violation of Title 21, United States Code, Section 959(a)(1) and
- (a)(2); all in violation of Title 21, United States Code, Section 963.

March 9, 2015, the M/V MANZANARES, a large cargo ship, arrived in the Port of
Buenaventura, Colombia in order to be loaded with packaged sugar bags for delivery to Haiti. On
March 22, 2015, M/V MANZANARES departed from Buenaventura, Colombia on its voyage to
Haiti. On or about April 2, 2015, the M/V MANZANARES arrived on the bay of Port-au-Prince.

The vessel was anchored in an anchorage area in the bay due to the fact that the berth area was not

available at the Port Varreux terminal. April 5, 2015, the M/V MANZANARES was finally

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moored along the pier on the terminal.

On April 10, 2015, two members the United States Coast Guard Tactical Law Enforcement
Team (“USCG TACLET”) team arrived in Port-au-Prince, Haiti to help search the M/V/
Manzanares, and on April 11, BLTS with the USCG team accessed the No. 2 cargo hold in the
M/V Manzanares. That day, BLTS and the USCG team found in total 50 kilograms of cocaine and
4 kilograms of heroin in the cargo hold No. 2. On April 12, 2015, the BLTS and USCG team
found an additional 30 packages in cargo hold No. 2, which consisted of 26 kilograms of cocaine —
and 6 kilograms of heroin.

On April 22, 2015, a USCG team, accompanied by others, went down to the space in cargo
hold No. 2 with Haitian law enforcement officers and discovered more packaged bricks under the
sugar hidden inside the cargo hold with some black garbage bags. The bricks turned out to be 31.6 .
kilograms of cocaine and 2.6 kilograms of heroin. Overall, the maritime search operation, which
lasted approximately 28 days, resulted with 3 separate seizures all totaling 107.6 kilograms of
cocaine and 12.6 kilograms of heroin. A sample of the drugs recovered were field tested with DEA
field test kits by BLTS agents in front of DEA agents and USCG officers and the drugs tested
positive for cocaine and heroin.

After an attempt on his life, the ‘Defendant, Georgy George, was interviewed by law
enforcement. GEORGE stated that he was hired at Port Varreux to be the supervisor in charge of
stevedores who unload cargo from the vessels in port. GEORGE stated that on or about April 7,
2015, he went on board the M/V/ Manzanares and retrieved four parcels of drugs which he

provided to others for further distribution. GEORGE also stated that he was in charge of
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purchasing parcels of drugs that stevedores had taken off of the M/V Manzanares for further

distribution to the United States.

 

ARIANA FAJARDO ORSHAN
ITED STATES ATTORNEY
Date: I/ 17). By: Y
‘KURT K. LUNKENHEIMER
ASSISTANT UNITED STATES ATTORNEY
Date: | ilalwio Bild, Mh,

 

LAUREN RAsNOrH AFPD
ATTORNEY FOR GREGORY GEORGE

Date: iia WW By: Gs e Ge ‘ wea Ge
GREGORY GEORGE

DEFENDANT
